
705 S.E.2d 371 (2010)
STATE of North Carolina
v.
Ronell Michael BETTIS.
No. 432P10.
Supreme Court of North Carolina.
December 15, 2010.
Daniel F. Read, Durham, for Bettis, Ronell Michael.
Daniel Addison, Special Deputy Attorney General, for State of N.C.
C. Colon Willoughby, Jr., District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 8th of October 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
